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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS


 ALICIA M. PAGE, CARMEL COOPER, and
 CINDY MUNIZ, individually, and on behalf of all
 others similarly situated
                             Plaintiffs,                    Case No. 19-cv-05965
 v.                                                         Hon. Sharon Johnson Coleman
 ALLIANT CREDIT UNION, and
 DOES 1-100,
                             Defendants.

             DECLARATION OF ERIC T. WERLINGER IN SUPPORT OF
         DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION TO AMEND

        I, Eric T. Werlinger, declare and state as follows:

        1.          I am an attorney licensed by the State of Texas and the District of Columbia. I am

counsel for Defendant Alliant Credit Union in the above-captioned case and am admitted pro hac vice

in this District.

        2.          Attached hereto as Exhibit A are true and correct copies of all unpublished cases cited

in Alliant’s opposition to Plaintiff’s motion to amend.

        I declare under penalty of perjury that the foregoing is true and correct.




Date: November 9, 2020                                     /s/ Eric T. Werlinger
                                                           Eric T. Werlinger




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